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                                                                        UNITED STATES DISTRICT COURT
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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                   6      IN RE: LITHIUM ION BATTERIES                    Case No.: 13-MD-2420 YGR
                                          ANTITRUST LITIGATION
                                   7                                                      ORDER DENYING MOTION TO SEAL
                                   8                                                      Re: Dkt. No. 947
                                          This Order Relates to:
                                   9
                                          All Direct and Indirect Purchaser
                                          Actions
                                  10

                                  11
Northern District of California




                                  12          Plaintiffs filed an administrative motion to seal portions of their pre-filing conference letter
 United States District Court




                                  13   pursuant to Civil Local Rules 7-11 and 79-5. (Dkt. No. 947.) Plaintiffs “do not believe the
                                  14   designated information” is sealable, but filed the motion due to confidentiality designations made
                                  15   by one or more defendants. (Id. at 1.) No declaration supporting the sealing of this material was
                                  16   filed, pursuant to Local Rule 79-5(e)(1), within the prescribed time limit. Thus, the motion to seal
                                  17   is DENIED. Plaintiffs shall file the material on the public docket pursuant to Local Rule 79-5(e)(2).
                                  18          This Order terminates Docket Number 947.
                                  19          IT IS SO ORDERED.
                                  20   Dated: November 17, 2015                         _______________________________________
                                                                                                YVONNE GONZALEZ ROGERS
                                  21                                                       UNITED STATES DISTRICT COURT JUDGE
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